Case 4:20-cv-00062-JED-FHM Document 63 Filed in USDC ND/OK on 02/26/20 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF OKLAHOMA

  MATTHEW BROMLOW, BENNY
  STEWART, and JOHNNY WALTERS,
  individually and on behalf of others similarly
  situated, and on behalf of the general public,

                       Plaintiffs,                   Case No. 4:20-cv-00062-JED-FHM

                v.                                   Honorable John E. Dowdell

  D&M CARRIERS, LLC d/b/a
  FREYMILLER, and DOES 1-10, inclusive,

                       Defendants.

                           AMENDED CERTIFICATE OF SERVICE

          I hereby certify that on this 26th day of February, 2020, a copy of the Entry of

  Appearance for Paul A. Ross [Doc. #58], Entry of Appearance of Paige H. Good [Doc. #59],

  Defendant’s Unopposed Motion to Transfer Case to the United States District Court for The

  Western District of Oklahoma [Doc. #60], and Defendant’s Unopposed Motion for Extension of

  Time to Answer or Otherwise Respond [Doc. # 61] were served by U.S. mail to all parties.

                                           Respectfully submitted,

                                           /s/ Paul A. Ross
                                           Paul A. Ross, OBA No. 19699
                                           Paige H. Good, OBA No. 31595
                                           McAfee & Taft A Professional Corporation
                                           10th Floor, Two Leadership Square
                                           211 N. Robinson Ave.
                                           Oklahoma City, OK 73102
                                           Telephone: (405) 235-9621
                                           Facsimile: (405) 235-0439
                                           paul.ross@mcafeetaft.com
                                           paige.good@mcafeetaft.com
                                           R. Jay Taylor, Jr. (pro hac vice admission
                                           forthcoming)
                                           James H. Hanson (pro hac vice admission
                                           forthcoming)
                                           jtaylor@scopelitis.com
Case 4:20-cv-00062-JED-FHM Document 63 Filed in USDC ND/OK on 02/26/20 Page 2 of 3



                                   jtaylor@scopelitis.com
                                   SCOPELITIS, GARVIN, LIGHT, HANSON & FEARY, P.C.
                                   10 West Market Street, Suite 1400
                                   Indianapolis, IN 46204
                                   P: 317-637-1777; F: 317-687-2414

                                   Christopher C. McNatt, Jr. (pro hac vice admission
                                   forthcoming)
                                   SCOPELITIS, GARVIN, LIGHT, HANSON & FEARY, P.C
                                   2 North Lake, Suite 560
                                   Pasadena, CA 91101
                                   P: 626-795-4700; F: 626-795-4790

                                   ATTORNEYS FOR DEFENDANT
                                   D&M CARRIERS, LLC DBA FREYMILLER




                                        2
Case 4:20-cv-00062-JED-FHM Document 63 Filed in USDC ND/OK on 02/26/20 Page 3 of 3




                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the above-referenced
  pleadings were served by U.S. Mail, postage prepaid, this 26th day of February, 2020, to:


  Matthew C. Helland, SBN 250451
  Daniel S. Brome, SBN 278915
  NICHOLS KASTER, LLP
  235 Montgomery Street, Suite 810
  San Francisco, CA 94104
  Telephone: (415) 277-7235
  Facsimile: (415) 277-7238
  dbrom@nka.com

  Nicholas Conlon, NJ Bar ID 34052013
  Lotus Cannon, NY Bar ID 964031
  BROWN, LLC
  111 Town Square Place, Suite 400
  Jersey City, NJ 07310
  T: (877) 561-0000
  F: (855) 582-5297
  nicholasconlon@jtblawgroup.com
  lotus.cannon@jtblawgroup.com

  ATTORNEYS FOR PLAINTIFFS


                                            /s/ Paul A. Ross
                                            Paul A. Ross




                                               3
